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            EXHIBIT 1
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 1                                                  Exhibit 1
 2       1. 606 North Alta Drive, Beverly Hills, California;
 3       2. 628 North Alta Drive, Beverly Hills, California;
 4       3. 11986 Lockridge Drive, Studio City, California;
 5       4. 2 Narbonne Drive, Long Beach, California;
 6       5. 2578 Hutton Drive, Beverly Hills, California;
 7       6. 35 Crimson Rose, Irvine, California;
 8       7. 30 Starlight, Irvine, California;
 9       8. 246 Spring Street 3203, New York, New York;
10       9. 246 Spring Street 3310, New York, New York;
11       10. 246 Spring Street 3311, New York, New York;
12       11. 2013 Rolls Royce sedan;
13       12. 2013 Bentley sedan;
14       13. 2013 Mercedes Benz sport utility vehicle;
15       14. 2011 Cadillac sport utility vehicle;
16       15. Flatotel, 135 52nd Street, New York, New York;
17       16. Cabrini Medical Center;
18       17. The Tri-County Mall;
19       18. Maven Technologies, LLC;
20       19. World Health Networks, Inc. f/k/a Health Station Networks Inc.;
21       20. Any investment, transfer of ASSETS to or from, or other transaction with SDG CAPITAL,
22          SPG, or ADLUX or their RELATED PARTIES that occurred in the United States and
23       21. Any investment, transfer of ASSETS to or from, or other transaction with any DEFENDANT.
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            EXHIBIT 2
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 I.    TRAVEL TO THE U.S.

      i. Ilyas Khrapunov
 ALMATY’S SECOND SET OF INTERROGATORIES TO ILYAS
 KHRAPUNOV, INTERROGATORY NO. 20:
        IDENTIFY each instance in which YOU have traveled to the United States
 and for each instance provide:
        (a) the date of YOUR travel;
        (b) the purpose of YOUR travel;
        (c) the name(s) of any INDIVIDUAL or RELATED PARTY with whom
        YOU met, interacted with, or communicated with during YOUR travel.

         ii. Leila Khrapunova
 ALMATY’S SECOND SET OF INTERROGATORIES TO LEILA
 KHRAPUNOVA, INTERROGATORY NO. 20:
       IDENTIFY each instance in which YOU have traveled to the United States
 and for each instance provide:
       (a) the date of YOUR travel;
       (b) the purpose of YOUR travel;
       (c) the name(s) of any INDIVIDUAL or RELATED PARTY with whom
       YOU met, interacted with, or communicated with during YOUR travel.

        iii. Madina Ablyazova
 ALMATY’S SECOND SET OF INTERROGATORIES TO MADINA
 ABLYAZOVA INTERROGATORY NO. 20:
       IDENTIFY each instance in which YOU have traveled to the United States
 and for each instance provide:
       (a) the date of YOUR travel;
       (b) the purpose of YOUR travel;
       (c) the name(s) of any INDIVIDUAL or RELATED PARTY with whom
       YOU met, interacted with, or communicated with during YOUR travel.

        iv. Viktor Khrapunov
 ALMATY’S SECOND SET OF INTERROGATORIES TO VIKTOR
 KHRAPUNOV, INTERROGATORY NO. 20:
       IDENTIFY each instance in which YOU have traveled to the United States
 and for each instance provide:
       (a) the date of YOUR travel;

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      (b) the purpose of YOUR travel;
      (c) the name(s) of any INDIVIDUAL or RELATED PARTY with whom
      YOU met, interacted with, or communicated with during YOUR travel.




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 II.   IDENTITY OF DEFENDANTS

     i. Ilyas Khrapunov
 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO ILYAS
 KHRAPUNOV REQUEST NO. 1:
     Admit that YOU currently reside in Switzerland.

 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO ILYAS
 KHRAPUNOV REQUEST NO. 2:
 Admit that YOU are married to MADINA.

 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO ILYAS
 KHRAPUNOV REQUEST NO. 3:
     Admit that MADINA current resides in Switzerland.

 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO ILYAS
 KHRAPUNOV REQUEST NO. 4:
     Admit that YOU are the brother of ELVIRA and the brother-in-law of
 DMITRY.

 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO ILYAS
 KHRAPUNOV REQUEST NO. 5:
     Admit that YOU are the son of LEILA and the stepson of VIKTOR.

 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO ILYAS
 KHRAPUNOV REQUEST NO. 6:
     Admit that MADINA is the daughter of MUKHTAR.

 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO ILYAS
 KHRAPUNOV REQUEST NO. 7:
     Admit that YOU are the son-in-law of MUKHTAR.

      ii. Madina Ablyazova
 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO MADINA
 ABLYAZOVA REQUEST NO. 1
     Admit that YOU currently reside in Switzerland.




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 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO MADINA
 ABLYAZOVA REQUEST NO. 2
     Admit that YOU are married to ILIYAS.

 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO MADINA
 ABLYAZOVA REQUEST NO. 3
     Admit that ILIYAS current resides in Switzerland.

 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO MADINA
 ABLYAZOVA REQUEST NO. 4
     Admit that YOU are the sister-in-law of ELVIRA and DMITRY.

 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO MADINA
 ABLYAZOVA REQUEST NO. 5
     Admit that YOU are the daughter-in-law of LEILA and VIKTOR.

 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO MADINA
 ABLYAZOVA REQUEST NO. 6
     Admit that YOU are the daughter of MUKHTAR.

 ALMATY’S FIRST SET OF REQUESTS FOR ADMISSIONS TO MADINA
 ABLYAZOVA REQUEST NO. 7
     Admit that ILIYAS is the son-in-law of MUKHTAR.




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 III.   TRANSACTIONS DIRECTED AT THE U.S. MADE DIRECTLY OR
        INDIRECTLY BY DEFENDANTS

        i. Ilyas Khrapunov
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO ILYAS
 KHRAPUNOV NO. 2:
        All DOCUMENTS RELATING to any LAUNDERING TRANSACTION.
        Defendants will limit any Request that seeks information regarding financial
 transactions to transactions of $50,000 or more (unless the Request already
 specifies an amount greater than $50,000)
        Defendants proposed to replace the term “LAUNDERING TRANSACTION”
 with the term “U.S. TRANSACTION” as defined in Exhibit 1. The term
 “LAUNDERING TRANSACTION” is argumentative.

         ii. Leila Khrapunova
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO LEILA
 KHRAPUNOVA NO. 2:
        All DOCUMENTS RELATING to any LAUNDERING TRANSACTION.
        Defendants will limit any Request that seeks information regarding financial
 transactions to transactions of $50,000 or more (unless the Request already
 specifies an amount greater than $50,000)
        Defendants proposed to replace the term “LAUNDERING TRANSACTION”
 with the term “U.S. TRANSACTION” as defined in Exhibit 1. The term
 “LAUNDERING TRANSACTION” is argumentative.

        iii. Madina Ablyazova
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO MADINA
 ABLYAZOVA NO. 2:
        All DOCUMENTS RELATING to any LAUNDERING TRANSACTION.
        Defendants will limit any Request that seeks information regarding financial
 transactions to transactions of $50,000 or more (unless the Request already
 specifies an amount greater than $50,000)
        Defendants proposed to replace the term “LAUNDERING TRANSACTION”
 with the term “U.S. TRANSACTION” as defined in Exhibit 1. The term
 “LAUNDERING TRANSACTION” is argumentative.




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        iv. Viktor Khrapunov
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO VIKTOR
 KHRAPUNOV NO. 2:
        All DOCUMENTS RELATING to any LAUNDERING TRANSACTION.
        Defendants will limit any Request that seeks information regarding financial
 transactions to transactions of $50,000 or more (unless the Request already
 specifies an amount greater than $50,000)
        Defendants proposed to replace the term “LAUNDERING TRANSACTION”
 with the term “U.S. TRANSACTION” as defined in Exhibit 1. The term
 “LAUNDERING TRANSACTION” is argumentative.

          v. Dmitry Kudryashov
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT DMITRY KUDRYASHOV, REQUEST FOR PRODUCTION NO.
 58:
        All DOCUMENTS RELATING to any U.S. TRANSACTION that YOU, or
 any of your family members, including but not limited to VIKTOR, LEILA,
 ELVIRA, ILIYAS, MADINA, MUKHTAR, ELENA, or GENNADY participated
 in, directly or indirectly, in any way.
        Defendants propose to limit the definitions of “U.S. TRANSACTIONS” to
 those transactions identified in Exhibit 1.

         vi. Elvira Kudryashova
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT ELVIRA KUDRYASHOVA, REQUEST FOR PRODUCTION
 NO. 58:
        All DOCUMENTS RELATING to any U.S. TRANSACTION that YOU, or
 any of your family members, including but not limited to VIKTOR, LEILA,
 ELVIRA, ILIYAS, MADINA, MUKHTAR, ELENA, or GENNADY participated
 in, directly or indirectly, in any way.
        Defendants propose to limit the definitions of “U.S. TRANSACTIONS” to
 those transactions identified in Exhibit 1.

       vii. 628 Holdings LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT 628 HOLDINGS LLC, REQUEST FOR PRODUCTION NO. 58:
        All DOCUMENTS RELATING to any U.S. TRANSACTION that YOU
 and/or any DEFENDANT, INDIVIDUAL, or ENTITY participated in, directly or
 indirectly, in any way.

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        Defendants propose to limit the definitions of “U.S. TRANSACTIONS” to
 those transactions identified in Exhibit 1.

       viii. Candian International
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT CANDIAN INTERNATIONAL, REQUEST FOR PRODUCTION
 NO. 58:
        All DOCUMENTS RELATING to any U.S. TRANSACTION that YOU
 and/or any DEFENDANT, INDIVIDUAL, or ENTITY participated in, directly or
 indirectly, in any way.
        Defendants propose to limit the definitions of “U.S. TRANSACTIONS” to
 those transactions identified in Exhibit 1.

        ix. Dmitry Kudryashov as Trustee of the Kasan Family Trust
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT DMITRY KUDRYASHOV AS TRUSTEE FOR THE KASAN
 FAMILY TRUST, REQUEST FOR PRODUCTION NO. 58:
        All DOCUMENTS RELATING to any U.S. TRANSACTION that YOU
 and/or any DEFENDANT, INDIVIDUAL, or ENTITY participated in, directly or
 indirectly, in any way.
        Defendants propose to limit the definitions of “U.S. TRANSACTIONS” to
 those transactions identified in Exhibit 1.

         x. Elvira Kudryashova as Trustee of the Kasan Family Trust
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT ELVIRA KUDRYASHOVA AS TRUSTEE FOR THE KASAN
 FAMILY TRUST, REQUEST FOR PRODUCTION NO. 58:
        All DOCUMENTS RELATING to any U.S. TRANSACTION that YOU
 and/or any DEFENDANT, INDIVIDUAL, or ENTITY participated in, directly or
 indirectly, in any way.
        Defendants propose to limit the definitions of “U.S. TRANSACTIONS” to
 those transactions identified in Exhibit 1.

        xi. Haute Hue LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT HAUTE HUE LLC, REQUEST FOR PRODUCTION NO. 58:
        All DOCUMENTS RELATING to any U.S. TRANSACTION that YOU
 and/or any DEFENDANT, INDIVIDUAL, or ENTITY participated in, directly or
 indirectly, in any way.

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        Defendants propose to limit the definitions of “U.S. TRANSACTIONS” to
 those transactions identified in Exhibit 1.

        xii. Maro Design LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT MARO DESIGN LLC, REQUEST FOR PRODUCTION NO. 58:
        All DOCUMENTS RELATING to any U.S. TRANSACTION that YOU
 and/or any DEFENDANT, INDIVIDUAL, or ENTITY participated in, directly or
 indirectly, in any way.
        Defendants propose to limit the definitions of “U.S. TRANSACTIONS” to
 those transactions identified in Exhibit 1.

       xiii. RPM USA, LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT RPM USA, LLC, REQUEST FOR PRODUCTION NO. 58:
        All DOCUMENTS RELATING to any U.S. TRANSACTION that YOU
 and/or any DEFENDANT, INDIVIDUAL, or ENTITY participated in, directly or
 indirectly, in any way.
        Defendants propose to limit the definitions of “U.S. TRANSACTIONS” to
 those transactions identified in Exhibit 1.

       xiv. RPM-MARO LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT RPM-MARO LLC, REQUEST FOR PRODUCTION NO. 58:
        All DOCUMENTS RELATING to any U.S. TRANSACTION that YOU
 and/or any DEFENDANT, INDIVIDUAL, or ENTITY participated in, directly or
 indirectly, in any way.
        Defendants propose to limit the definitions of “U.S. TRANSACTIONS” to
 those transactions identified in Exhibit 1.




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 IV.   INFORMATION PERTAINING TO ASSETS DIRECTLY OR
       INDIRECTLY OWNED BY DEFENDANTS IN THE U.S.

       i. Ilyas Khrapunov
 ALMATY’S SECOND SET OF REQUESTS FOR PRODUCTION TO ILYAS
 KHRAPUNOV NO. 23:
       All DOCUMENTS, including all COMMUNICATIONS, between YOU and
 any DEFENDANT, INDIVIDUAL, or ENTITY, or between YOU and any
 RELATED PARTY of any DEFENDANT, INDIVIDUAL or ENTITY
 RELATING TO any U.S. TRANSACTION
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

        ii. Leila Khrapunova
 ALMATY’S SECOND SET OF REQUESTS FOR PRODUCTION TO LEILA
 KHRAPUNOVA REQUEST FOR PRODUCTION NO. 23:
       All DOCUMENTS, including all COMMUNICATIONS, between YOU and
 any DEFENDANT, INDIVIDUAL, or ENTITY, or between YOU and any
 RELATED PARTY of any DEFENDANT, INDIVIDUAL or ENTITY
 RELATING TO any U.S. TRANSACTION
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

       iii. Madina Ablyazova
 ALMATY’S SECOND SET OF REQUESTS FOR PRODUCTION TO MADINA
 ABLYAZOVA REQUEST FOR PRODUCTION NO. 23:
       All DOCUMENTS, including all COMMUNICATIONS, between YOU and
 any DEFENDANT, INDIVIDUAL, or ENTITY, or between YOU and any
 RELATED PARTY of any DEFENDANT, INDIVIDUAL or ENTITY
 RELATING TO any U.S. TRANSACTION
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

       iv. Viktor Khrapunov
 ALMATY’S SECOND SET OF REQUESTS FOR PRODUCTION TO VIKTOR
 KHRAPUNOV REQUEST FOR PRODUCTION NO. 23:
      All DOCUMENTS, including all COMMUNICATIONS, between YOU and
 any DEFENDANT, INDIVIDUAL, or ENTITY, or between YOU and any


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 RELATED PARTY of any DEFENDANT, INDIVIDUAL or ENTITY
 RELATING TO any U.S. TRANSACTION
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

         v. Dmitry Kudryashov
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT DMITRY KUDRYASHOV, REQUEST FOR PRODUCTION NO.
 59:
        All DOCUMENTS RELATING to any ASSET in the United States directly
 or indirectly transferred to or from, borrowed against, leased by, or in any other
 way associated with YOU and/or any DEFENDANT, INDIVIDUAL, or ENTITY
 where the proposed or actual transfer price or financing value was equal to or
 greater than $100,000 USD.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

         vi. Elvira Kudryashova
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT ELVIRA KUDRYASHOVA, REQUEST FOR PRODUCTION
 NO. 59:
        All DOCUMENTS RELATING to any ASSET in the United States directly
 or indirectly transferred to or from, borrowed against, leased by, or in any other
 way associated with YOU and/or any DEFENDANT, INDIVIDUAL, or ENTITY
 where the proposed or actual transfer price or financing value was equal to or
 greater than $100,000 USD.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

        vii. 628 Holdings LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT 628 HOLDINGS LLC, REQUEST FOR PRODUCTION NO. 59:
        All DOCUMENTS RELATING to any ASSET in the United States directly
 or indirectly transferred to or from, borrowed against by, leased by, or in any other
 way associated with YOU and/or any DEFENDANT, INDIVIDUAL, or ENTITY
 where the proposed or actual transfer price or financing value was equal to or
 greater than $100,000 USD.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

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       viii. Candian International
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT CANDIAN INTERNATIONAL, REQUEST FOR PRODUCTION
 NO. 59:
        All DOCUMENTS RELATING to any ASSET in the United States directly
 or indirectly transferred to or from, borrowed against by, leased by, or in any other
 way associated with YOU and/or any DEFENDANT, INDIVIDUAL, or ENTITY
 where the proposed or actual transfer price or financing value was equal to or
 greater than $100,000 USD.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

         ix. Dmitry Kudryashov as Trustee of the Kasan Family Trust
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT DMITRY KUDRYASHOV AS TRUSTEE FOR THE KASAN
 FAMILY TRUST, REQUEST FOR PRODUCTION NO. 59:
        All DOCUMENTS RELATING to any ASSET in the United States directly
 or indirectly transferred to or from, borrowed against by, leased by, or in any other
 way associated with YOU and/or any DEFENDANT, INDIVIDUAL, or ENTITY
 where the proposed or actual transfer price or financing value was equal to or
 greater than $100,000 USD.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

         x. Elvira Kudryashova as Trustee of the Kasan Family Trust
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT ELVIRA KUDRYASHOVA AS TRUSTEE FOR THE KASAN
 FAMILY TRUST, REQUEST FOR PRODUCTION NO. 59:
        All DOCUMENTS RELATING to any ASSET in the United States directly
 or indirectly transferred to or from, borrowed against by, leased by, or in any other
 way associated with YOU and/or any DEFENDANT, INDIVIDUAL, or ENTITY
 where the proposed or actual transfer price or financing value was equal to or
 greater than $100,000 USD.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1




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         xi. Haute Hue LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT HAUTE HUE LLC, REQUEST FOR PRODUCTION NO. 59:
        All DOCUMENTS RELATING to any ASSET in the United States directly
 or indirectly transferred to or from, borrowed against by, leased by, or in any other
 way associated with YOU and/or any DEFENDANT, INDIVIDUAL, or ENTITY
 where the proposed or actual transfer price or financing value was equal to or
 greater than $100,000 USD.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

        xii. Maro Design LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT MARO DESIGN LLC, REQUEST FOR PRODUCTION NO. 59:
        All DOCUMENTS RELATING to any ASSET in the United States directly
 or indirectly transferred to or from, borrowed against by, leased by, or in any other
 way associated with YOU and/or any DEFENDANT, INDIVIDUAL, or ENTITY
 where the proposed or actual transfer price or financing value was equal to or
 greater than $100,000 USD.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

       xiii. RPM USA, LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT RPM USA, LLC, REQUEST FOR PRODUCTION NO. 59:
        All DOCUMENTS RELATING to any ASSET in the United States directly
 or indirectly transferred to or from, borrowed against by, leased by, or in any other
 way associated with YOU and/or any DEFENDANT, INDIVIDUAL, or ENTITY
 where the proposed or actual transfer price or financing value was equal to or
 greater than $100,000 USD.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

       xiv. RPM-MARO LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT RPM-MARO LLC, REQUEST FOR PRODUCTION NO. 59:
        All DOCUMENTS RELATING to any ASSET in the United States directly
 or indirectly transferred to or from, borrowed against by, leased by, or in any other
 way associated with YOU and/or any DEFENDANT, INDIVIDUAL, or ENTITY

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 where the proposed or actual transfer price or financing value was equal to or
 greater than $100,000 USD.
       Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1




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 V.    INFORMATION PERTAINING TO
       OWNERSHIP/CONTROL/CORPORATION INFORMATION FOR
       ALL DEFINED ENTITIES

        i. Ilyas Khrapunov
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO ILYAS
 KHRAPUNOV NO. 6:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
        former ownership, control, beneficiaries, employees, representatives,
 managers, or agents of any of the ENTITIES or their RELATED PARTIES,
 including without limitation list of shareholders, capitalization tables, directories of
 officers, directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

         ii. Leila Khrapunova
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO LEILA
 KHRAPUNOVA NO. 6:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
 former ownership, control, beneficiaries, employees, representatives, managers, or
 agents of any of the ENTITIES or their RELATED PARTIES, including without
 limitation list of shareholders, capitalization tables, directories of officers,
 directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

         iii. Madina Ablyazova
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO MADINA
 ABLYAZOVA NO. 6:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
 former ownership, control, beneficiaries, employees, representatives, managers, or
 agents of any of the ENTITIES or their RELATED PARTIES, including without
 limitation list of shareholders, capitalization tables, directories of officers,
 directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.




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         iv. Viktor Khrapunov
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO VIKTOR
 KHRAPUNOV NO.6:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
 former ownership, control, beneficiaries, employees, representatives, managers, or
 agents of any of the ENTITIES or their RELATED PARTIES, including without
 limitation list of shareholders, capitalization tables, directories of officers,
 directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

         v. Dmitry Kudryashov
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT DMITRY KUDRYASHOV, REQUEST FOR PRODUCTION NO.
 63:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
 former ownership, control, beneficiaries, employees, representatives, managers, or
 agents of any of the ENTITIES or their RELATED PARTIES, including without
 limitation, lists of shareholders, capitalization tables, directories of officers,
 directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

         vi. Elvira Kudryashova
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT ELVIRA KUDRYASHOVA, REQUEST FOR PRODUCTION
 NO. 63:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
 former ownership, control, beneficiaries, employees, representatives, managers, or
 agents of any of the ENTITIES or their RELATED PARTIES, including without
 limitation, lists of shareholders, capitalization tables, directories of officers,
 directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.




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        vii. 628 Holdings LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT 628 HOLDINGS LLC, REQUEST FOR PRODUCTION NO. 63:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
 former ownership, control, beneficiaries, employees, representatives, managers, or
 agents of any of the ENTITIES or their RELATED PARTIES, including without
 limitation, lists of shareholders, capitalization tables, directories of officers,
 directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

       viii. Candian International
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT CANDIAN INTERNATIONAL, REQUEST FOR PRODUCTION
 NO. 63:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
 former ownership, control, beneficiaries, employees, representatives, managers, or
 agents of any of the ENTITIES or their RELATED PARTIES, including without
 limitation, lists of shareholders, capitalization tables, directories of officers,
 directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

         ix. Dmitry Kudryashov as Trustee of the Kasan Family Trust
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT DMITRY KUDRYASHOV AS TRUSTEE FOR THE KASAN
 FAMILY TRUST, REQUEST FOR PRODUCTION NO. 63:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
 former ownership, control, beneficiaries, employees, representatives, managers, or
 agents of any of the ENTITIES or their RELATED PARTIES, including without
 limitation, lists of shareholders, capitalization tables, directories of officers,
 directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.




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         x. Elvira Kudryashova as Trustee of the Kasan Family Trust
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT ELVIRA KUDRYASHOVA AS TRUSTEE FOR THE KASAN
 FAMILY TRUST, REQUEST FOR PRODUCTION NO. 63:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
 former ownership, control, beneficiaries, employees, representatives, managers, or
 agents of any of the ENTITIES or their RELATED PARTIES, including without
 limitation, lists of shareholders, capitalization tables, directories of officers,
 directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

         xi. Haute Hue LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT HAUTE HUE LLC, REQUEST FOR PRODUCTION NO. 63:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
 former ownership, control, beneficiaries, employees, representatives, managers, or
 agents of any of the ENTITIES or their RELATED PARTIES, including without
 limitation, lists of shareholders, capitalization tables, directories of officers,
 directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.


        xii. Maro Design LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT MARO DESIGN LLC, REQUEST FOR PRODUCTION NO. 63:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
 former ownership, control, beneficiaries, employees, representatives, managers, or
 agents of any of the ENTITIES or their RELATED PARTIES, including without
 limitation, lists of shareholders, capitalization tables, directories of officers,
 directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.




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       xiii. RPM USA, LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT RPM USA, LLC, REQUEST FOR PRODUCTION NO. 63:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
 former ownership, control, beneficiaries, employees, representatives, managers, or
 agents of any of the ENTITIES or their RELATED PARTIES, including without
 limitation, lists of shareholders, capitalization tables, directories of officers,
 directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

       xiv. RPM-MARO LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT RPM-MARO LLC, REQUEST FOR PRODUCTION NO. 63:
        All DOCUMENTS containing, reflecting or RELATING TO the current or
 former ownership, control, beneficiaries, employees, representatives, managers, or
 agents of any of the ENTITIES or their RELATED PARTIES, including without
 limitation, lists of shareholders, capitalization tables, directories of officers,
 directors, employees or shareholders.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.




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 VI.   INFORMATION REGARDING ALL ENTITIES OWNED AND
       CONTROLLED BY DEFENDANTS, AND/OR THE DEFINED
       INDIVIDUALS AND ENTITIES

         i. Ilyas Khrapunov
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO ILYAS
 KHRAPUNOV NO. 13:
        All DOCUMENTS relating to any corporation, limited liability company,
 partnership, or other entity or organization in which (a) YOU, (b) any
 DEFENDANT, INDIVIDUAL, or ENTITY, or (c) any RELATED PARTY of (a)
 or (b), serve or served as an officer, director, manager, representative, consultant,
 fiduciary, trustee, beneficiary, attorney, accountant, or agent.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

 ALMATY’S FIRST SET OF INTERROGATORIES TO ILYAS KHRAPUNOV
 INTERROGATORY NO. 3:
        IDENTIFY the name, business address, and country of origin for each and
 every entity for which YOU or a RELATED PARTY of YOU serve or have served
 as an officer, director, shareholder, partner (in any capacity, including general or
 limited), member, interest holder, employee, trustee, beneficiary, manager, agent,
 or representative.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

 ALMATY’S FIRST SET OF INTERROGATORIES TO ILYAS KHRAPUNOV
 INTERROGATORY NO. 4:
       IDENTIFY the name, business address, and country of origin for each and
 every entity for which any DEFENDANT, INDIVIDUAL, ENTITY, or
 RELATED PARTY of any DEFENDANT, INDIVIDUAL, or ENTITY serves or
 has served as an officer, director, shareholder, partner (in any capacity, including
 general or limited), member, interest holder, employee, trustee, beneficiary,
 manager, agent, or representative.
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.




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 ALMATY’S SECOND SET OF INTERROGATORIES TO ILYAS
 KHRAPUNOV INTERROGATORY NO. 15:
       IDENTIFY all ENTITIES and RELATED PARTIES for which YOU are or
 have been a beneficial owner.
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.


          ii. Leila Khrapunova
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTIONTO LEILA
 KHRAPUNOVA NO. 13:
        All DOCUMENTS relating to any corporation, limited liability company,
 partnership, or other entity or organization in which (a) YOU, (b) any
 DEFENDANT, INDIVIDUAL, or ENTITY, or (c) any RELATED PARTY of (a)
 or (b), serve or served as an officer, director, manager, representative, consultant,
 fiduciary, trustee, beneficiary, attorney, accountant, or agent.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

 ALMATY’S FIRST SET OF INTERROGATORIES TO LEILA KHRAPUNOVA
 INTERROGATORY NO. 3:
        IDENTIFY the name, business address, and country of origin for each and
 every entity for which YOU or a RELATED PARTY of YOU serve or have served
 as an officer, director, shareholder, partner (in any capacity, including general or
 limited), member, interest holder, employee, trustee, beneficiary, manager, agent,
 or representative.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

 ALMATY’S FIRST SET OF INTERROGATORIES TO LEILA KHRAPUNOVA
 INTERROGATORY NO. 4:
       IDENTIFY the name, business address, and country of origin for each and
 every entity for which any DEFENDANT, INDIVIDUAL, ENTITY, or
 RELATED PARTY of any DEFENDANT, INDIVIDUAL, or ENTITY serves or
 has served as an officer, director, shareholder, partner (in any capacity, including
 general or limited), member, interest holder, employee, trustee, beneficiary,
 manager, agent, or representative.
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

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 ALMATY’S SECOND SET OF INTERROGATORIES TO LEILA
 KHRAPUNOVA INTERROGATORY NO. 15:
       IDENTIFY all ENTITIES and RELATED PARTIES for which YOU are or
 have been a beneficial owner.
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.


         iii. Madina Ablyazova
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION MADINA
 ABLYAZOVA NO. 13:
        All DOCUMENTS relating to any corporation, limited liability company,
 partnership, or other entity or organization in which (a) YOU, (b) any
 DEFENDANT, INDIVIDUAL, or ENTITY, or (c) any RELATED PARTY of (a)
 or (b), serve or served as an officer, director, manager, representative, consultant,
 fiduciary, trustee, beneficiary, attorney, accountant, or agent.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.
 ALMATY’S FIRST SET OF INTERROGATORIES TO MADINA
 ABLYAZOVA INTERROGATORY NO. 3:
        IDENTIFY the name, business address, and country of origin for each and
 every entity for which YOU or a RELATED PARTY of YOU serve or have served
 as an officer, director, shareholder, partner (in any capacity, including general or
 limited), member, interest holder, employee, trustee, beneficiary, manager, agent,
 or representative.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

 ALMATY’S FIRST SET OF INTERROGATORIES TO MADINA
 ABLYAZOVA INTERROGATORY NO. 4:
       IDENTIFY the name, business address, and country of origin for each and
 every entity for which any DEFENDANT, INDIVIDUAL, ENTITY, or
 RELATED PARTY of any DEFENDANT, INDIVIDUAL, or ENTITY serves or
 has served as an officer, director, shareholder, partner (in any capacity, including
 general or limited), member, interest holder, employee, trustee, beneficiary,
 manager, agent, or representative.
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.


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 ALMATY’S SECOND SET OF INTERROGATORIES TO MADINA
 ABLYAZOVA INTERROGATORY NO. 15:
       IDENTIFY all ENTITIES and RELATED PARTIES for which YOU are or
 have been a beneficial owner.
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

         iv. Viktor Khrapunov
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO VIKTOR
 KHRAPUNOV NO. 13:
        All DOCUMENTS relating to any corporation, limited liability company,
 partnership, or other entity or organization in which (a) YOU, (b) any
 DEFENDANT, INDIVIDUAL, or ENTITY, or (c) any RELATED PARTY of (a)
 or (b), serve or served as an officer, director, manager, representative, consultant,
 fiduciary, trustee, beneficiary, attorney, accountant, or agent.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

 ALMATY’S FIRST SET OF INTERROGATORIES TO VIKTOR KHRAPUNOV
 INTERROGATORY NO. 3:
        IDENTIFY the name, business address, and country of origin for each and
 every entity for which YOU or a RELATED PARTY of YOU serve or have served
 as an officer, director, shareholder, partner (in any capacity, including general or
 limited), member, interest holder, employee, trustee, beneficiary, manager, agent,
 or representative.
        Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

 ALMATY’S FIRST SET OF INTERROGATORIES TO VIKTOR KHRAPUNOV
 INTERROGATORY NO. 4:
       IDENTIFY the name, business address, and country of origin for each and
 every entity for which any DEFENDANT, INDIVIDUAL, ENTITY, or
 RELATED PARTY of any DEFENDANT, INDIVIDUAL, or ENTITY serves or
 has served as an officer, director, shareholder, partner (in any capacity, including
 general or limited), member, interest holder, employee, trustee, beneficiary,
 manager, agent, or representative.
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.


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 ALMATY’S SECOND SET OF INTERROGATORIES TO VIKTOR
 KHRAPUNOV INTERROGATORY NO. 15:
       IDENTIFY all ENTITIES and RELATED PARTIES for which YOU are or
 have been a beneficial owner.
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.




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 VII. BANK ACCOUNT INFORMATION

       i. Ilyas Khrapunov
 ALMATY’S SECOND SET OF INTERROGATORIES TO ILYAS
 KHRAPUNOV, INTERROGATORY NO. 22:
       IDENTIFY all ACCOUNTS that provided or transferred monies used in or
 RELATING TO the U.S. TRANSACTIONS.
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

        ii. Leila Khrapunova
 ALMATY’S SECOND SET OF INTERROGATORIES TO LEILA
 KHRAPUNOVA, INTERROGATORY NO. 22:
       IDENTIFY all ACCOUNTS that provided or transferred monies used in or
 RELATING TO the U.S. TRANSACTIONS.
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

        iii. Madina Ablyazova
 ALMATY’S SECOND SET OF INTERROGATORIES TO MADINA
 ABLYAZOVA, INTERROGATORY NO. 22:
       IDENTIFY all ACCOUNTS that provided or transferred monies used in or
 RELATING TO the U.S. TRANSACTIONS.
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.

        iv. Viktor Khrapunov
 ALMATY’S SECOND SET OF INTERROGATORIES TO VICTOR
 KHRAPUNOV, INTERROGATORY NO. 22:
       IDENTIFY all ACCOUNTS that provided or transferred monies used in or
 RELATING TO the U.S. TRANSACTIONS.
       Defendants propose to limit the definition of US TRANSACTIONS to those
 transactions as identified in Exhibit 1.




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 VIII. INFORMATION PERTAINING TO DEFENDANT’S SOURCES OF
       INCOME/NET WORTH

         i. Ilyas Khrapunov
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO ILYAS
 KHRAPUNOV, NO. 9:
        All DOCUMENTS identifying, listing, summarizing, or valuing any
 ASSETS or liabilities held in the name or for the benefit of (a) YOU, (b) any
 DEFENDANT, INDIVIDUAL, or ENTITY, or (c) any RELATED PARTY of (a)
 or (b), including without limitation any financial statements, balance sheets,
 statements of net worth, sale, purchase or transfer documents, applications for
 loans or other forms of credit, appraisals, and inventories of art, jewelry, precious
 metals, real property, personal property, automobiles, or other assets.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO ILYAS
 KHRAPUNOV, NO. 11:
        All DOCUMENTS RELATING to any offer, application, solicitation, or
 request to acquire, sell, or transfer any ASSET with a proposed or actual transfer
 price or financing value equal to or greater than $50,000 USD for, on behalf of or
 RELATING to (a) YOU, (b) any DEFENDANT, INDIVIDUAL, or ENTITY, or
 (c) any RELATED PARTY of (a) or (b), including without limitation, real estate,
 automobiles, jewelry, art, or any other asset or thing of value, including without
 limitation offers, contracts, proof of funds, statements of net worth, and
 verifications of income.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

          ii. Leila Khrapunova
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO LEILA
 KHRAPUNOVA, NO. 9:
        All DOCUMENTS identifying, listing, summarizing, or valuing any
 ASSETS or liabilities held in the name or for the benefit of (a) YOU, (b) any
 DEFENDANT, INDIVIDUAL, or ENTITY, or (c) any RELATED PARTY of (a)
 or (b), including without limitation any financial statements, balance sheets,
 statements of net worth, sale, purchase or transfer documents, applications for
 loans or other forms of credit, appraisals, and inventories of art, jewelry, precious
 metals, real property, personal property, automobiles, or other assets.

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       Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO LEILA
 KHRAPUNOVA, NO. 11:
        All DOCUMENTS RELATING to any offer, application, solicitation, or
 request to acquire, sell, or transfer any ASSET with a proposed or actual transfer
 price or financing value equal to or greater than $50,000 USD for, on behalf of or
 RELATING to (a) YOU, (b) any DEFENDANT, INDIVIDUAL, or ENTITY, or
 (c) any RELATED PARTY of (a) or (b), including without limitation, real estate,
 automobiles, jewelry, art, or any other asset or thing of value, including without
 limitation offers, contracts, proof of funds, statements of net worth, and
 verifications of income.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

         iii. Madina Ablyazova
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO MADINA
 ABLYAZOVA, NO. 9:
        All DOCUMENTS identifying, listing, summarizing, or valuing any
 ASSETS or liabilities held in the name or for the benefit of (a) YOU, (b) any
 DEFENDANT, INDIVIDUAL, or ENTITY, or (c) any RELATED PARTY of (a)
 or (b), including without limitation any financial statements, balance sheets,
 statements of net worth, sale, purchase or transfer documents, applications for
 loans or other forms of credit, appraisals, and inventories of art, jewelry, precious
 metals, real property, personal property, automobiles, or other assets.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION MADINA
 ABLYAZOVA, NO. 11:
        All DOCUMENTS RELATING to any offer, application, solicitation, or
 request to acquire, sell, or transfer any ASSET with a proposed or actual transfer
 price or financing value equal to or greater than $50,000 USD for, on behalf of or
 RELATING to (a) YOU, (b) any DEFENDANT, INDIVIDUAL, or ENTITY, or
 (c) any RELATED PARTY of (a) or (b), including without limitation, real estate,
 automobiles, jewelry, art, or any other asset or thing of value, including without
 limitation offers, contracts, proof of funds, statements of net worth, and
 verifications of income.

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       Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

         iv. Viktor Khrapunov
 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO VIKTOR
 KHRAPUNOV, NO. 9:
        All DOCUMENTS identifying, listing, summarizing, or valuing any
 ASSETS or liabilities held in the name or for the benefit of (a) YOU, (b) any
 DEFENDANT, INDIVIDUAL, or ENTITY, or (c) any RELATED PARTY of (a)
 or (b), including without limitation any financial statements, balance sheets,
 statements of net worth, sale, purchase or transfer documents, applications for
 loans or other forms of credit, appraisals, and inventories of art, jewelry, precious
 metals, real property, personal property, automobiles, or other assets.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

 ALMATY’S FIRST SET OF REQUESTS FOR PRODUCTION TO VIKTOR
 KHRAPUNOV, NO. 11:
        All DOCUMENTS RELATING to any offer, application, solicitation, or
 request to acquire, sell, or transfer any ASSET with a proposed or actual transfer
 price or financing value equal to or greater than $50,000 USD for, on behalf of or
 RELATING to (a) YOU, (b) any DEFENDANT, INDIVIDUAL, or ENTITY, or
 (c) any RELATED PARTY of (a) or (b), including without limitation, real estate,
 automobiles, jewelry, art, or any other asset or thing of value, including without
 limitation offers, contracts, proof of funds, statements of net worth, and
 verifications of income.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

         v. Dmitry Kudryashov
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT DMITRY KUDRYASHOV, REQUEST FOR PRODUCTION NO.
 76:
       All DOCUMENTS, including all COMMUNICATIONS, RELATING TO
 YOUR net worth in the United States, including without limitation any tax
 documents, financial statements, balance sheets, statements of net worth,
 applications for loans or other forms of credit, and inventories of art, jewelry,
 precious metals, real property, personal property, automobiles, or other ASSETS.
       Defendants propose to limit this request to assets worth $50,000 or more.

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       Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1


        vi. Elvira Kudryashova
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT ELVIRA KUDRYASHOVA, REQUEST FOR PRODUCTION
 NO. 76:
       All DOCUMENTS, including all COMMUNICATIONS, RELATING TO
 YOUR net worth in the United States, including without limitation any tax
 documents, financial statements, balance sheets, statements of net worth,
 applications for loans or other forms of credit, and inventories of art, jewelry,
 precious metals, real property, personal property, automobiles, or other ASSETS.
       Defendants propose to limit this request to assets worth $50,000 or more.
       Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

       vii. 628 Holdings LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT 628 HOLDINGS LLC, REQUEST FOR PRODUCTION NO. 76:
       All DOCUMENTS, including all COMMUNICATIONS, RELATING TO
 YOUR net worth in the United States, including without limitation any tax
 documents, financial statements, balance sheets, statements of net worth,
 applications for loans or other forms of credit, and inventories of art, jewelry,
 precious metals, real property, personal property, automobiles, or other ASSETS.
       Defendants propose to limit this request to assets worth $50,000 or more.
       Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

       viii. Candian International
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT CANDIAN INTERNATIONAL, REQUEST FOR PRODUCTION
 NO. 76:
        All DOCUMENTS, including all COMMUNICATIONS, RELATING TO
 YOUR net worth in the United States, including without limitation any tax
 documents, financial statements, balance sheets, statements of net worth,
 applications for loans or other forms of credit, and inventories of art, jewelry,
 precious metals, real property, personal property, automobiles, or other ASSETS.

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       Defendants propose to limit this request to assets worth $50,000 or more.
       Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

        ix. Dmitry Kudryashov as Trustee of the Kasan Family Trust
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT DMITRY KUDRYASHOV AS TRUSTEE FOR THE KASAN
 FAMILY TRUST, REQUEST FOR PRODUCTION NO. 76:
       All DOCUMENTS, including all COMMUNICATIONS, RELATING TO
 YOUR net worth in the United States, including without limitation any tax
 documents, financial statements, balance sheets, statements of net worth,
 applications for loans or other forms of credit, and inventories of art, jewelry,
 precious metals, real property, personal property, automobiles, or other ASSETS.
       Defendants propose to limit this request to assets worth $50,000 or more.
       Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

         x. Elvira Kudryashova as Trustee of the Kasan Family Trust
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT ELVIRA KUDRYASHOVA AS TRUSTEE FOR THE KASAN
 FAMILY TRUST, REQUEST FOR PRODUCTION NO. 76:
       All DOCUMENTS, including all COMMUNICATIONS, RELATING TO
 YOUR net worth in the United States, including without limitation any tax
 documents, financial statements, balance sheets, statements of net worth,
 applications for loans or other forms of credit, and inventories of art, jewelry,
 precious metals, real property, personal property, automobiles, or other ASSETS.
       Defendants propose to limit this request to assets worth $50,000 or more.
       Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

        xi. Haute Hue LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT HAUTE HUE LLC, REQUEST FOR PRODUCTION NO. 76:
       All DOCUMENTS, including all COMMUNICATIONS, RELATING TO
 YOUR net worth in the United States, including without limitation any tax
 documents, financial statements, balance sheets, statements of net worth,
 applications for loans or other forms of credit, and inventories of art, jewelry,
 precious metals, real property, personal property, automobiles, or other ASSETS.
       Defendants propose to limit this request to assets worth $50,000 or more.

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       Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

       xii. Maro Design LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT MARO DESIGN LLC, REQUEST FOR PRODUCTION NO. 76:
       All DOCUMENTS, including all COMMUNICATIONS, RELATING TO
 YOUR net worth in the United States, including without limitation any tax
 documents, financial statements, balance sheets, statements of net worth,
 applications for loans or other forms of credit, and inventories of art, jewelry,
 precious metals, real property, personal property, automobiles, or other ASSETS.
       Defendants propose to limit this request to assets worth $50,000 or more.
       Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

       xiii. RPM USA, LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT RPM USA, LLC, REQUEST FOR PRODUCTION NO. 76:
        All DOCUMENTS, including all COMMUNICATIONS, RELATING TO
 YOUR net worth in the United States, including without limitation any tax
 documents, financial statements, balance sheets, statements of net worth,
 applications for loans or other forms of credit, and inventories of art, jewelry,
 precious metals, real property, personal property, automobiles, or other ASSETS.
        Defendants propose to limit this request to assets worth $50,000 or more.
        Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1

       xiv. RPM-MARO LLC
 THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANT RPM-MARO LLC, REQUEST FOR PRODUCTION NO. 76:
       All DOCUMENTS, including all COMMUNICATIONS, RELATING TO
 YOUR net worth in the United States, including without limitation any tax
 documents, financial statements, balance sheets, statements of net worth,
 applications for loans or other forms of credit, and inventories of art, jewelry,
 precious metals, real property, personal property, automobiles, or other ASSETS.
       Defendants propose to limit this request to assets worth $50,000 or more.
       Defendants propose to limit to those transactions identified in the definition
 of “U.S. TRANSACTIONS” as identified in Exhibit 1


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                                 #:10292



 IX.   TRANSACTIONS INVOLVING MONEY ALLEGEDLY STOLEN
       FROM KAZAKHSTAN

        None, on the theory the topic does not go to personal or subject matter
 jurisdiction


 X.    INFORMATION PERTAINING TO THE ALLEGED UNLAWFUL
       ACTS IN KAZAKHSTAN

        None, on the theory the topic does not go to personal or subject matter
 jurisdiction




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             EXHIBIT 3
3/5/2018                                 Mail - LKollios@boerschshapiro.com
           Case 2:14-cv-03650-FMO-FFM Document     229-1 Filed 03/05/18 Page 36 of 53 Page ID
                                                 #:10294
 RE: meet & confer re discovery

   Lara Kollios
   Fri 3/2/2018 3:51 PM
   Sent Items

   To: Kendall.Howes@lw.com     <Kendall.Howes@lw.com>;

   Cc:jonathan.jackson@lw.com     <jonathan.jackson@lw.com>;



 Kendall,

 Almaty’s ﬁrst proposal was made last night at 8:00 pm. When we spoke on the phone last week Almaty did not have a
 proposal, as ordered by the Court. Instead, you stated that you would be moving the Court to reconsider its order and for
 addi onal discovery responses that were already addressed by the Court’s order. You then began to suggest that defendants
 should respond all 5,000 + discovery requests, but with diﬀerent deﬁned terms. At that point, I said such a sugges on was
 not in line with the Court’s order and asked that you send a proposal consistent with the order, which called for a
 “reasonable amount of jurisdic onal discovery.”

 By failing to send a proposal un l two business days before the joint submissions is due, you have aﬃrmed Almaty’s lack of
 interest in a meaningful meet and confer. Moreover, nowhere did the Court order defendants to dra “reasonable
 jurisdic onal discovery” on behalf of Almaty. Defendants remain willing to produce reasonable discovery narrowly focused
 on jurisdic on, as ordered by the Court. We will do our best to evaluate your ﬁrst proposal received last night and provide a
 meaningful response for the Court to consider on such short no ce.

 Lara Kollios
 Boersch Shapiro LLP
 1611 Telegraph Ave Ste 806
 Oakland, CA 94612
 T: 415-500-6643 | F: 415-967-3062
 www.boerschshapiro.com
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 From: Kendall.Howes@lw.com [mailto:Kendall.Howes@lw.com]
 Sent: Friday, March 2, 2018 1:55 PM
 To: Lara Kollios <LKollios@boerschshapiro.com>
 Cc: jonathan.jackson@lw.com
 Subject: RE: meet & confer re discovery

 Lara,

 The Court’s order does not contemplate the exchange of brieﬁng prior to March 5th. Instead, the par es are to meet and
 confer, and, if they are unable to reach agreement, each party shall “set[] forth the last and best oﬀer each side submi ed to
 the other and argument as to why such proposal is appropriate and should be adopted by the Court,” in no more than 10
 pages, in a joint s pula on. (Dkt. 224.) The order thus requires simultaneous brieﬁng (limited to the content speciﬁed by
 the Court) to be submi ed on that date, without any further supplemental memorandum or reply.


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3/5/2018Case 2:14-cv-03650-FMO-FFM Document       Mail - LKollios@boerschshapiro.com
                                                            229-1 Filed 03/05/18 Page 37 of 53 Page ID
 To date, we have oﬀered Defendants two proposals and have#:10295
                                                               not received any proposals (or counterproposals) in return.
 We are prepared to dra and submit our por on of the joint s pula on suppor ng our latest, “best oﬀer” by Monday. Of
 course, please let us know whether you are willing to agree to any of the modiﬁed requests set forth in our proposal.

 If you need more me to formulate Defendants’ proposal pursuant to the order, we wouldn’t be opposed to a short
 extension.

 Thanks,
 Kendall

 From: Lara Kollios [mailto:LKollios@boerschshapiro.com]
 Sent: Friday, March 2, 2018 11:32 AM
 To: Howes, Kendall (LA) <Kendall.Howes@lw.com>
 Cc: Jackson, Jonathan (LA) <jonathan.jackson@lw.com>
 Subject: Re: meet & confer re discovery

 Kendall,

 When can we expect Almaty’s portion of the joint stipulation that is due Monday, pursuant to the Court’s order?
  Given that Almaty sent its lengthy proposal last night after business hours, and it will take some time to sift
 through the various requests, the only way we can meaningfully respond and meet the Court’s deadline is if you
 send the joint stipulation today (and even then, we still only have one business day to respond).

 Thanks - Lara

 Sent from my iPhone

 On Mar 1, 2018, at 7:53 PM, "Kendall.Howes@lw.com" <Kendall.Howes@lw.com> wrote:

           Hi Lara,

           Notwithstanding Defendants’ refusal to propose a compromise or counteroﬀer to the proposal we laid out
           during our meet-and-confer call on February 22, a ached please ﬁnd Almaty’s second proposal that further
           narrows our discovery requests.

           Best,
           Kendall



           From: Jackson, Jonathan (LA)
           Sent: Friday, February 23, 2018 3:36 PM
           To: Lara Kollios <LKollios@boerschshapiro.com>; Howes, Kendall (LA) <Kendall.Howes@lw.com>
           Subject: RE: meet & confer re discovery

           Lara,

           Thanks for your email. While we don’t necessarily agree with your characteriza on of the call, or your posi on
           that it would not have been appropriate for Defendants to propose a compromise during the call, we will circle
           back next week in any event.

           --Jon




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3/5/2018                                 Mail - LKollios@boerschshapiro.com
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                                                 #:10296
           From: Lara Kollios [mailto:LKollios@boerschshapiro.com]
           Sent: Friday, February 23, 2018 9:21 AM
           To: Howes, Kendall (LA)
           Cc: Jackson, Jonathan (LA)
           Subject: Re: meet & confer re discovery

           Jon and Kendall,

           Thanks for the me yesterday. Per our discussion, you are going to send a proposal that iden ﬁes discovery
           narrowly tailored to the personal jurisdic on issue for the Swiss Defendants and discovery narrowly tailored to
           subject ma er jurisdic on to any US Defendants you believe is appropriate given the Court's direc on. At that
           point, we will be able to analyze the appropriate scope and substan vely respond to your proposal. As we
           discussed, we do not believe the Court’s order to mean that defendants are required to respond to the over
           5,000 discovery requests Almaty has served with revised deﬁned terms. We look forward to receiving your
           proposal with the narrow discovery the Court has ordered the par es to consider.

           Thanks - Lara


           From: Kendall.Howes@lw.com <Kendall.Howes@lw.com>
           Sent: Thursday, February 22, 2018 11:32:26 AM
           To: Lara Kollios
           Cc: jonathan.jackson@lw.com
           Subject: RE: meet & confer re discovery

           Great. I just sent a calendar invite with the dial-in informa on.

           Best,
           Kendall

           From: Lara Kollios [mailto:LKollios@boerschshapiro.com]
           Sent: Thursday, February 22, 2018 11:28 AM
           To: Howes, Kendall (LA) <Kendall.Howes@lw.com>
           Cc: Jackson, Jonathan (LA) <jonathan.jackson@lw.com>
           Subject: Re: meet & confer re discovery

           3:00 works. Let me know what number to call. Thanks

           Sent from my iPhone

           On Feb 21, 2018, at 2:24 PM, "Kendall.Howes@lw.com" <Kendall.Howes@lw.com> wrote:

                 Yes, you are correct. We can do 3 tomorrow.

                 Thanks,
                 Kendall

                 From: Lara Kollios <LKollios@boerschshapiro.com>
                 Date: Wednesday, Feb 21, 2018, 12:30 PM
                 To: Howes, Kendall (LA) <Kendall.Howes@lw.com>
                 Cc: Jackson, Jonathan (LA) <jonathan.jackson@lw.com>
                 Subject: RE: meet & confer re discovery


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3/5/2018   Case 2:14-cv-03650-FMO-FFM Document        Mail - LKollios@boerschshapiro.com
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               Kendall – I believe the Court ordered us to meet     within ten days of the order, which I think is
                tomorrow. Let me know if I’m mistaken. If not, I am available tomorrow between 12:00-4:00

                Lara Kollios
                Boersch Shapiro LLP
                1611 Telegraph Ave Ste 806
                Oakland, CA 94612
                T: 415-500-6643 | F: 415-967-3062
                www.boerschshapiro.com
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                From: Kendall.Howes@lw.com [mailto:Kendall.Howes@lw.com]
                Sent: Wednesday, February 21, 2018 11:44 AM
                To: Lara Kollios <LKollios@boerschshapiro.com>
                Cc: jonathan.jackson@lw.com
                Subject: meet & confer re discovery

                Hi Lara,

                Per Judge Mumm’s order, please let us know if you are available to meet and confer on Friday.
                We are available to talk at any me.

                Thanks,
                Kendall

                Kendall M. Howes

                LATHAM & WATKINS LLP
                355 South Grand Avenue
                Los Angeles, CA 90071-1560
                Direct Dial: +1.213.891.8902
                Fax: +1.213.891.8763
                Email: kendall.howes@lw.com
                http://www.lw.com




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                                                 #:10298
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           <Almaty's Discovery Proposal.pdf>


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                                 #:10300


                                City of Almaty’s Discovery Proposal

 Proposed Global Limitations

 For all Requests, Plaintiff proposes to limit its requests in the following ways:

     •   Plaintiff will limit any Request that seeks information regarding financial transactions to
         transactions of $50,000 or more (unless the Request already specifies an amount greater
         than $50,000)

     •   Plaintiff will limit the appendices referenced in the definitions of INDIVIDUAL and
         ENTITY to individuals and entities for which Plaintiff can explain their relevance.

     •   Plaintiff will limit the definition of KAZAKHSTAN TRANSACTIONS to only those
         transactions described in the corresponding appendix. Plaintiff will further limit the list
         of transactions to those for which Plaintiff can explain their relevance.

     •   Plaintiff will remove references to RELATED PARTIES from all Requests.



 Specific Requests

 Plaintiff believes that the follow requests are relevant to the personal jurisdiction of Iliyas
 Khrapunov, Madina Ablyazova, Leila Khrapunova, and Viktor Khrapunov, and/or are relevant to
 Defendants’ motion to dismiss for purported lack of subject matter jurisdiction (as narrowed in
 some instances as noted below). We have broken the requests into broad categories based on the
 type of information sought:

     •   Travel to the U.S.

         Interrogatories to Swiss Individuals                        •   20

         Requests for Admission to Elvira                            •   390-391

         Requests for Admission to Dmitry                            •   368-369

         Requests for Admission to Iliyas                            •   376-389

         Requests for Admission to Madina                            •   378-391

         Requests for Admission to Viktor                            •   138-145

         Requests for Admission to Leila                             •   142-149




                                                   1
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     •   Identity of Defendants

         Interrogatories to Swiss Individuals                      •   14
                                                                   •   21
                                                                   •   23

         Requests for Admission to Dmitry                          •   365

         Requests for Admission to Iliyas                          •   1-7
                                                                   •   392-396

         Requests for Admission to Madina                          •   1-7
                                                                   •   394-397

         Requests for Admission to Viktor                          •   181-184

         Requests for Admission to Leila                           •   185-188



     •   Transactions directed at the U.S. made directly or indirectly by Defendants

         Requests for Production to Elvira and Dmitry              •   58

         Requests for Production to Entity Defendants              •   58

         Requests for Production to Swiss Individuals              •   2
                                                                   •   5(b)

         Interrogatories to Swiss Individuals                      •   17 (limited to business
                                                                       within or directed to the
                                                                       U.S.)
         Requests for Admission to Iliyas and Madina               •   252-255
                                                                   •   305-309
                                                                   •   319-321




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     •   Information pertaining to assets directly or indirectly owned by Defendants in the U.S.

         Requests for Production to Elvira and Dmitry              •   59
                                                                   •   62(b) and (c) (limited to
                                                                       assets in the U.S.)
                                                                   •   66
                                                                   •   69 (limited to assets in
                                                                       the U.S.)

         Requests for Production to Entity Defendants              •   59
                                                                   •   62(b) and (c) (limited to
                                                                       assets in the U.S.)
                                                                   •   66
                                                                   •   69 (limited to assets in
                                                                       the U.S.)

         Requests for Production to Swiss Individuals              •   21 (limited to assets in
                                                                       the U.S.)
                                                                   •   22 (limited to assets in
                                                                       the U.S.)
                                                                   •   23

         Interrogatories to Swiss Individuals                      •   5-6 (limited to U.S.)
                                                                   •   18

         Requests for Admission to Iliyas and Madina               •   173-182
                                                                   •   209-213
                                                                   •   228-229
                                                                   •   249-251 (limited to U.S.)

         Requests for Admission to Viktor                          •   122-124
                                                                   •   134-137

         Requests for Admission to Leila                           •   122-124
                                                                   •   135-141



     •   Information pertaining to the ownership/control/corporation information for all defined
         ENTITIES

         Requests for Production to Elvira and Dmitry              •   63

         Requests for Production to Entity Defendants              •   63



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         Requests for Production to Swiss Individuals             •   61

         Interrogatories to Elvira and Dmitry                     •   22

         Requests for Admission to Iliyas and Madina              •   71-74
                                                                  •   99-108
                                                                  •   137-168
                                                                  •   313
                                                                  •   316-318



     •   Information regarding all entities owned and controlled by Defendants, and/or the defined
         INDIVIDUALS and ENTITIES:

         Requests for Production to Elvira and Dmitry             •   64
                                                                  •   71-72

         Requests for Production to Entity Defendants             •   64

         Requests for Production to Swiss Individuals             •   7
                                                                  •   13

         Interrogatories to Elvira and Dmitry                     •   23
                                                                  •   25 (Dmitry only)

         Interrogatories to Swiss Individuals                     •   3-4
                                                                  •   13
                                                                  •   15

         Requests for Admission to Elvira                         •   271-274
                                                                  •   317-318

         Requests for Admission to Dmitry                         •   272
                                                                  •   318

         Requests for Admission to Iliyas                         •   314-315
                                                                  •   396

         Requests for Admission to Madina                         •   314-315
                                                                  •   398



 1
   Requests for Production to Swiss Individuals 1-17 (set one) are incorporated into the Requests
 for Production (set two) served in 2017 through Request 18.
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         Requests for Admission to Viktor               •   180

         Requests for Admission to Leila                •   184



     •   Bank Account Information

         Requests for Production to Elvira and Dmitry   •   61
                                                        •   62(d)

         Requests for Production to Entity Defendants   •   61
                                                        •   62(d)

         Requests for Production to Swiss Individuals   •   4
                                                        •   5(d)

         Interrogatories to Swiss Individuals           •   1-2
                                                        •   10-11
                                                        •   22

         Requests for Admission to Elvira               •   331-333
                                                        •   335-340
                                                        •   342-346
                                                        •   348-354

         Requests for Admission to Dmitry               •   330-338
                                                        •   341-345
                                                        •   347-353

         Requests for Admission to Iliyas               •   337-369

         Requests for Admission to Madina               •   338-370

         Requests for Admission to Viktor               •   146-147
                                                        •   149-178

         Requests for Admission to Leila                •   150-151
                                                        •   153-182




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     •   Information pertaining to Defendants’ sources of income and net worth

         Requests for Production to Elvira and Dmitry            •   68
                                                                 •   70
                                                                 •   73
                                                                 •   75-79

         Requests for Production to Entity Defendants            •   68
                                                                 •   70
                                                                 •   72-79

         Requests for Production to Swiss Individuals            •   9-12
                                                                 •   16
                                                                 •   19-20

         Interrogatories to Swiss Individuals                    •   12
                                                                 •   16

         Requests for Admission to Iliyas                        •   390-391

         Requests for Admission to Madina                        •   392-393

         Requests for Admission to Viktor and Leila              •   6-9



     •   Transactions involving money allegedly stolen from Kazakhstan

         Requests for Production to Elvira and Dmitry            •   60

         Requests for Production to Entity Defendants            •   57

         Interrogatories to Elvira and Dmitry                    •   24 (willing to accept
                                                                     bank statements in lieu of
                                                                     subparts (a)-(c); limited
                                                                     the years to 2007 to the
                                                                     present)

         Interrogatories to Entity Defendants                    •   23
                                                                 •   24 (narrowed to loans
                                                                     given to or received from
                                                                     DEFENDANTS,
                                                                     INDIVIDUALS, or
                                                                     ENTITIES)



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         Interrogatories to Swiss Individuals                     •   7
                                                                  •   19

         Requests for Admission to Elvira                         •   262-264
                                                                  •   265-267
                                                                  •   268-270
                                                                  •   326-330
                                                                  •   347
                                                                  •   355
                                                                  •   357-360
                                                                  •   372
                                                                  •   375
                                                                  •   378

         Requests for Admission to Dmitry                         •   262- 264
                                                                  •   265-267
                                                                  •   268-270
                                                                  •   325-329
                                                                  •   355
                                                                  •   357
                                                                  •   358
                                                                  •   359
                                                                  •   360

         Requests for Admission to Iliyas                         •   324-336
                                                                  •   370-375

         Requests for Admission to Madina                         •   324-337
                                                                  •   371-377

         Requests for Admission to Viktor                         •   125-133
                                                                  •   179
                                                                  •   190-191

         Requests for Admission to Leila                          •   125-133
                                                                  •   183
                                                                  •   194-195



     •   Information pertaining to the alleged unlawful acts in Kazakhstan

         Requests for Production to Elvira and Dmitry             •   57
                                                                  •   62(a)


                                                 7
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         Requests for Production to Entity Defendants               •   62(a)

         Requests for Production to Swiss Individuals               •   1
                                                                    •   5(a)

         Requests for Admission to Elvira                           •   381-388

         Requests for Admission to Iliyas                           •   397-401
                                                                    •   426-433

         Requests for Admission to Viktor and Leila                 •   1-5
                                                                    •   19-121



 In additional to the above limitations, Plaintiff agrees to withdraw the following requests for the
 purposes of this meet-and-confer:

         Requests for Production to Elvira and Dmitry               •   60
                                                                    •   65
                                                                    •   67
                                                                    •   74
                                                                    •   81
                                                                    •   82
                                                                    •   83 (Elvira only)

         Requests for Production to Entity Defendants               •   60
                                                                    •   65
                                                                    •   67
                                                                    •   80
                                                                    •   81

         Requests for Production to Swiss Individuals               •   8
                                                                    •   14
                                                                    •   15
                                                                    •   17

         Interrogatories to Elvira                                  •   25

         Interrogatories to Swiss Individuals                       •   8-9
                                                                    •   17

         Requests for Admission to Elvira                           •   127
                                                                    •   130-131
                                                                    •   134-135
                                                                    •   138
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                                                   •   159-160
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                                                   •   167-168
                                                   •   171-172
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                                                   •   179-180
                                                   •   211-212
                                                   •   217
                                                   •   222
                                                   •   227
                                                   •   258
                                                   •   261
                                                   •   279-280
                                                   •   283-285
                                                   •   288
                                                   •   291
                                                   •   294-295
                                                   •   298
                                                   •   301
                                                   •   304
                                                   •   307
                                                   •   310-316
                                                   •   397

         Requests for Admission to Dmitry          •   25
                                                   •   212
                                                   •   261
                                                   •   304
                                                   •   310-312
                                                   •   375

         Requests for Admission to Iliyas          •   8-70
                                                   •   75-98
                                                   •   109-136
                                                   •   169-172
                                                   •   183-208
                                                   •   214-227
                                                   •   230-248
                                                   •   256-304
                                                   •   310-312
                                                   •   402-425
                                                   •   434-448



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         Requests for Admission to Madina          •   8-70
                                                   •   75-98
                                                   •   109-136
                                                   •   169-172
                                                   •   183-208
                                                   •   214-227
                                                   •   230-248
                                                   •   256-304
                                                   •   310-312
                                                   •   399-401

         Requests for Admission to Viktor          •   10-18
                                                   •   148
                                                   •   185-189

         Requests for Admission to Leila           •   10-18
                                                   •   152
                                                   •   189-193




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                                 #:10310




             EXHIBIT 5
3/5/2018                                 Mail - LKollios@boerschshapiro.com
           Case 2:14-cv-03650-FMO-FFM Document     229-1 Filed 03/05/18 Page 53 of 53 Page ID
                                                 #:10311
 Joint Submission

   Lara Kollios
   Mon 3/5/2018 2:29 PM


   To: Kendall.Howes@lw.com     <Kendall.Howes@lw.com>; jonathan.jackson@lw.com <jonathan.jackson@lw.com>;


  2 attachments (532 KB)
 Exhibit 1.pdf; Defendants' Proposed Discovery Requests.pdf;



 Kendall and Jon,

 Please let me know how you would like to handle the ﬁling of the par es’ joint submission today. Also, a ached is
 defendants’ discovery proposal that we will submit with our sec on of the joint submission, which we just completed given
 that we received Almaty’s proposal on Thursday night and our clients live in Switzerland.

 Thanks - Lara

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